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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCOR MANAGEMENT AND
 CONSULTING LLC,
                                            FILED UNDER SEAL
                Defendant.


         GOVERNMENT’S MOTION TO PARTIALLY UNSEAL TRANSCRIPT


       On March 7, 2019, the Court held a hearing on the defendant’s motion regarding

sensitive discovery. The first part of this hearing was open to the public. (The second part of the

hearing was held under seal.) At the government’s request, the transcript of the first part of the

hearing was sealed pending a further motion from the government. On March 8, 2019, the Court

issued a minute order granting the parties access to the transcripts of the March 7 hearing. The

Court further ordered the parties to jointly propose a redacted version of the transcript of the

public portion of the hearing. A transcript of the public portion of the hearing reflecting the

parties’ proposed redactions is attached. The parties agree that this redacted version of the

transcript should be unsealed and that the unredacted transcript of the public portion of the

March 7 hearing should remain under seal. The parties further agree that the transcript of the

sealed portion of the March 7 hearing should also remain under seal.

                                       Respectfully submitted,

ROBERT S. MUELLER, III                                        JESSIE K. LIU
Special Counsel                                               United States Attorney

By: /s/                                                       By: /s/
Jeannie S. Rhee                                               Jonathan Kravis
L. Rush Atkinson                                              Deborah Curtis
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